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UNITED STATES DISTRICT COURT                                                    U.S. DISTRICT COURT E.D.N.Y.
EASTERN DISTRICT OF NEW YORK
--------------------------X                                                     * NOV O9 2023 *
UNITED STATES OF AMERICA                                                        BROOKLYN OFFICE
                                                         ORDER
        - against-
                                                         CR 23-433 (LDH)
BRADEN JOHN KARONY,

                       Defendant.

--------------------------X
                The United States has submitted an application pursuant to 18 U.S.C. §§ 3145,

requesting that the Court issue an Order staying and revoking the November 8, 2023, release

order entered in the District of Utah in the above-captioned matter, see United States v. John

Karony, No. 23-MJ-1008 (DAO) (D. Utah), ECF No. 12 (the "Release Order"), that the

defendant be detained pending trial, and that the U.S. Marshals Service to remove the defendant

to the Eastern District of New York in custody.

                For the reasons set forth in the government's submissions, United States v. John

Karony, No. 23-CR-433 (ERK) (E.D.N.Y), ECF Nos. 11, 12, and those set forth on the record at

the hearing in this matter on November 9, 2023, IT IS ORDERED that: (1) the Release Order is

stayed pending resolution of this motion~ €:2) !Re Release 01de1 is 1evokcd in its eeiiroty; €?~ tae

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                                                      Judge LaShann DeArcy Hall
                                              THE HONORABLE LASHANN DEARCY HALL
                                              UNITED STATES DISTRICT JUDGE
                                              EASTERN DISTRICT OF NEW YORK
